 Case 8:22-bk-12142-SC           Doc 416 Filed 04/30/24 Entered 04/30/24 15:42:07                     Desc
                                  Main Document     Page 1 of 9



 1   JOSHUA R. TEEPLE, CPA
     Grobstein Teeple LLP
 2   23832 Rockfield Boulevard, Suite 245
     Lake Forest, California 92630
 3   Telephone:    (949) 381-5655
 4   Facsimile:    (949) 381-5665
     Email: jteeple@gtllp.com; documents@gtllp.com
 5
     Financial Advisors to the Chapter 11 Debtor
 6   And Debtor-in-Possession
 7
                                  UNITED STATES BANKRUPTCY COURT
 8
                                   CENTRAL DISTRICT OF CALIFORNIA
 9
                                             SANTA ANA DIVISION
10
      In re                                                   Case No.: 8:22-bk-12142-SC
11
12    2nd CHANCE INVESTMENT                                   Chapter 11
      GROUP, LLC,
13                                                            NOTICE OF HEARING ON FINAL
                                                              APPLICATION FOR COMPENSATION
14
                                                              FOR PRE-CONFIRMATION PERIOD
15
                                                        Date: May 21, 2024
16                                                      Time: 10:00 a.m.
                       Debtor and Debtor-in-Possession. Ctrm: 5C – Via ZoomGov
17
                                                              U.S. Bankruptcy Court
18                                                            411 West Fourth Street
                                                              Santa Ana, California 92701
19
20   TO ALL INTERESTED PARTIES:
21            PLEASE TAKE NOTICE that on May 21, 2024 at 10:00 a.m. in Courtroom 5C of the above-
22   captioned court located at 411 West Fourth Street, Santa Ana, California, the Court will hear the final
23   application for pre-confirmation period (“Application”) of Grobstein Teeple LLP (“GT”), Financial
24   Advisors for the Debtor as follows:
25
      Fees Requested   Costs Requested   Total Amount     Amount                       Time Period
26                                        Requested      Outstanding
          $7,240.00            $10.02        $7,250.02     $7,250.02   November 1, 2023 – February 29, 2024 (final)
27
28




     In re: 2nd Chance Investment Group, LLC              1                       Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC        Doc 416 Filed 04/30/24 Entered 04/30/24 15:42:07                Desc
                               Main Document     Page 2 of 9



 1          PLEASE TAKE FURTHER NOTICE that GT also requests that the Court affirm the
 2   previously approved interim fees and expenses in the amounts of $14,949.50 and $129.32, respectively
 3   (with an outstanding unpaid balance of $4,874.53), as a final award.
 4          PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 2016-1, any
 5   opposition to the Application or other responsive pleading must be filed with the Clerk of the
 6   Bankruptcy court and served on the Office of the United States Trustee and GT not later than 14 days
 7   prior to the hearing date in the form required by Local Bankruptcy Rule 9013-1(f). If you fail to file
 8   a written objection to the Application within such time period, the Court may treat such failure as a
 9   waiver of your right to object to the Application and may approve the Application.
10          The Application is on file at the Bankruptcy Court. A complete copy of the Application will
11   be provided to any party in interest by contacting Denise Weiss by electronic mail at
12   dweiss@gtllp.com, or by telephone at (949) 381-5655.
13          PLEASE TAKE FURTHER NOTICE that the hearing will be conducted remotely using
14   ZoomGov. Video and audio connection information for the hearing will be provided on Judge
15   Clarkson’s publicly posted hearing calendar, which may be viewed online at: http://ecf-
16   ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.
17
18                                                         Grobstein Teeple LLP
19
20   Dated: April26
                 ___, 2024                                 By
21                                                              Joshua R. Teeple

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     In re: 2nd Chance Investment Group, LLC           2                    Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC                Doc 416 Filed 04/30/24 Entered 04/30/24 15:42:07                                         Desc
                                       Main Document     Page 3 of 9


                                                PROOF OF SERVICE OF DOCUMENT
 1
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 2
                                                    P.O. Box 253, Woonsocket, RI 02895
 3
     A true and correct copy of the foregoing document entitled (specify): NOTICE OF HEARING ON FINAL APPLICATION
 4   FOR COMPENSATION FOR PRE-CONFIRMATION PERIOD WITH PROOF OF SERVICE will be served or was served
     (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
 5
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
 6   General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
      April 30, 2024
     _________________________,      I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
 7   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
     addresses stated below:
 8
         •   Amanda G. Billyard on behalf of Debtor 2nd Chance Investment Group LLC abillyard@bwlawcenter.com
 9       •   Andy C Warshaw on behalf of Debtor 2nd Chance Investment Group LLC awarshaw@bwlawcenter.com,
             warshaw.andyb110606@notify.bestcase.com
10       •   Andy C Warshaw on behalf of Defendant 2nd Chance Investment Group LLC awarshaw@bwlawcenter.com,
             warshaw.andyb110606@notify.bestcase.com
         •   Arvind Nath Rawal on behalf of Creditor Ally Bank c/o AIS Portfolio Services, LLC arawal@aisinfo.com
11       •   Brandon J Iskander on behalf of Interested Party Goe Forsythe & Hodges LLP biskander@goeforlaw.com kmurphy@goeforlaw.com
         •   Charity J Manee on behalf of Plaintiff Official Committee Of Unsecured Creditors cmanee@goeforlaw.com kmurphy@goeforlaw.com
12       •   Charity J Manee on behalf of Interested Party Goe Forsythe & Hodges LLP cmanee@goeforlaw.com kmurphy@goeforlaw.com
         •   Charity J Manee on behalf of Plaintiff Official Committee of Unsecured Creditors cmanee@goeforlaw.com kmurphy@goeforlaw.com
13       •   Cheryl A Skigin on behalf of Creditor Ally Bank caskigin@earthlink.net caskigin@earthlink.net
         •   Christopher P. Walker on behalf of Interested Party Salvador Jimenez cwalker@cpwalkerlaw.com
             lhines@cpwalkerlaw.com;r57253@notify.bestcase.com
14       •   Christopher P. Walker on behalf of Creditor Salvador Jimenez cwalker@cpwalkerlaw.com
             lhines@cpwalkerlaw.com;r57253@notify.bestcase.com
15       •   Dane W Exnowski on behalf of Interested Party Courtesy NEF dane.exnowski@mccalla.com
             bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
16       •   Dane W Exnowski on behalf of Creditor Forethought Life Insurance Company dane.exnowski@mccalla.com
             bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
         •   Daniel J Griffin on behalf of Plaintiff Maher Abou Khzam daniel@thebklawoffice.com
17           tclayton@thebklawoffice.com;daniel@thebklawoffice.com
         •   David M Goodrich on behalf of Debtor 2nd Chance Investment Group LLC dgoodrich@go2.law,
18           kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com
         •   David M Goodrich on behalf of Interested Party Interested Party dgoodrich@go2.law
             kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com
19       •   Douglas A Plazak on behalf of Creditor Ram Bhakta dplazak@rhlaw.com
         •   Douglas A Plazak on behalf of Attorney Douglas A. Plazak dplazak@rhlaw.com
20       •   Douglas A Plazak on behalf of Creditor Sajan Bhakta dplazak@rhlaw.com
         •   Fanny Zhang Wan on behalf of Creditor U.S. BANK TRUST NATIONAL ASSOCIATION NOT IN ITS INDIVIDUAL CAPACITY BUT
21           SOLELY AS OWNER TRUSTEE FOR VRMTG ASSET TRUST fwan@raslg.com
         •   Fanny Zhang Wan on behalf of Interested Party U.S. Bank Trust National Association not in its individual capacity but solely as owner
             trustee for VRMTG Asset Trust fwan@raslg.com
22       •   Gary B Rudolph on behalf of Creditor Lantzman Investments Inc. rudolph@sullivanhill.com,
             bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.com;rudolph@ecf.courtdrive.com;james@ecf.courtdrive.com
23       •   Gary B Rudolph on behalf of Creditor LMF2 LP rudolph@sullivanhill.com, bkstaff@sullivanhill.com;
             vidovich@ecf.inforuptcy.com;rudolph@ecf.courtdrive.com;james@ecf.courtdrive.com
24       •   Jennifer C Wong on behalf of Interested Party Courtesy NEF bknotice@mccarthyholthus.com jwong@ecf.courtdrive.com
         •   Jennifer C Wong on behalf of Creditor Wells Fargo Bank N.A. bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com
         •   Kathleen A Cashman-Kramer on behalf of Creditor LMF2 LP cashman-kramer@sullivanhill.com, theresam@psdslaw.com
25       •   Kathleen A Cashman-Kramer on behalf of Creditor Lantzman Investments Inc. cashman-kramer@sullivanhill.com, theresam@psdslaw.com
         •   Lazaro E Fernandez on behalf of Interested Party Courtesy NEF lef17@pacbell.net lef-sam@pacbell.net;lef-
26           mari@pacbell.net;OfficeLR74738@notify.bestcase.com;lefkarina@gmail.com
         •   Queenie K Ng on behalf of U.S. Trustee United States Trustee (SA) queenie.k.ng@usdoj.gov
         •   Randall P Mroczynski on behalf of Creditor Mercedes-Benz Financial Services USA LLC randym@cookseylaw.com
27       •   Richard L. Sturdevant on behalf of Defendant 2nd Chance Investment Group LLC rich@bwlawcenter.com
         •   Richard L. Sturdevant on behalf of Debtor 2nd Chance Investment Group LLC rich@bwlawcenter.com
28       •   Robert P Goe on behalf of Plaintiff Official Committee Of Unsecured Creditors kmurphy@goeforlaw.com
             rgoe@goeforlaw.com;goeforecf@gmail.com




     In re: 2nd Chance Investment Group, LLC                             3                             Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC                Doc 416 Filed 04/30/24 Entered 04/30/24 15:42:07                                       Desc
                                       Main Document     Page 4 of 9


         •    Robert P Goe on behalf of Interested Party Goe Forsythe & Hodges LLP kmurphy@goeforlaw.com
 1            rgoe@goeforlaw.com;goeforecf@gmail.com
         •    Robert P Goe on behalf of Creditor Committee Official Committee of Unsecured Creditors kmurphy@goeforlaw.com
 2            rgoe@goeforlaw.com;goeforecf@gmail.com
         •    Robert P Goe on behalf of Plaintiff Official Committee of Unsecured Creditors kmurphy@goeforlaw.com
              rgoe@goeforlaw.com;goeforecf@gmail.com
 3       •    Stephan M Brown on behalf of Interested Party Courtesy NEF ECF@thebklawoffice.com
              stephan@thebklawoffice.com;roslyn@thebklawoffice.com;brown.stephanb125317@notify.bestcase.com
 4       •    Stephan M Brown on behalf of Interested Party Maher Abou Khzam ECF@thebklawoffice.com
              stephan@thebklawoffice.com;roslyn@thebklawoffice.com;brown.stephanb125317@notify.bestcase.com
         •    Stephan M Brown on behalf of Plaintiff Maher Abou Khzam ECF@thebklawoffice.com
 5            stephan@thebklawoffice.com;roslyn@thebklawoffice.com;brown.stephanb125317@notify.bestcase.com
         •    United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 6
     2. SERVED BY UNITED STATES MAIL:
 7   On April 30, 2024            , I served the following persons and/or entities at the last known addresses in this bankruptcy
     case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
 8   first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
     judge will be completed no later than 24 hours after the document is filed.
 9
      Debtor                                                       Honorable Scott C. Clarkson
10    2nd Chance Investment Group, LLC                             U.S. Bankruptcy Court
      Service c/o Counsel via NEF                                  411 West 4th Street, Suite 5130
11                                                                 Santa Ana, CA 93101
12                                                                           Service list continued on next Page

13
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
14   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
     _______________, I served the following persons and/or entities by personal delivery, overnight mail service, or (for
15   those who consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the
     judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
16   than 24 hours after the document is filed.

17
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
18
19   April 30, 2024                                    Denise Weiss
               Date                                    Typed Name                                              Signature
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     In re: 2nd Chance Investment Group, LLC                            4                            Case No.: 8:22-BK-12142-SC
            Case 8:22-bk-12142-SC   Doc 416 Filed 04/30/24 Entered 04/30/24 15:42:07    Desc
                                     Main Document     Page 5 of 9


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Case 8:22-bk-12142-SC   Doc 416 Filed 04/30/24 Entered 04/30/24 15:42:07   Desc
                         Main Document     Page 6 of 9
Case 8:22-bk-12142-SC   Doc 416 Filed 04/30/24 Entered 04/30/24 15:42:07   Desc
                         Main Document     Page 7 of 9
             Case 8:22-bk-12142-SC   Doc 416 Filed 04/30/24 Entered 04/30/24 15:42:07   Desc
                                      Main Document     Page 8 of 9

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Case 8:22-bk-12142-SC   Doc 416 Filed 04/30/24 Entered 04/30/24 15:42:07   Desc
                         Main Document     Page 9 of 9
